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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   ALEXANDRIA DIVISION


BITSELLER EXPERT LIMITED, and
ACCURACY CONSULTING LTD.,
                                                                       Case No.
     Plaintiffs,
                                                              _______________________
v.
                                                           COMPLAINT FOR CONVERSION
VERISIGN INC., and                                          AND TRESPASS TO CHATTELS
DOES 1-10,
                                                            DEMAND FOR JURY TRIAL
     Defendants.



         This is a suit for conversion and trespass to chattels. Defendants improperly and

wrongfully transferred Plaintiffs’ rightful property, a domain name, to third parties. Defendants

had every reason to know that Plaintiffs were the rightful owners and operators of the domain

name, yet Defendants deprived Plaintiffs of their use and ownership of the domain name and

transferred the domain to third parties who had no legitimate claim to it, causing Plaintiffs at

least $500,000 in damages.

                                                 Parties

         1.        Plaintiff Bitseller Expert Limited (“Bitseller”) is a limited company organized in

and under the laws of the Republic of Cyprus.

         2.        Plaintiff Accuracy Consulting Ltd. (“Accuracy”) is a limited company organized

in and under the laws of the British Virgin Islands.

         3.        Defendant Verisign, Inc. (“Verisign”) is a corporation incorporated in the State of

Delaware and under the laws of Delaware with a principal place of business at 12061 Bluemont

Way, Reston, VA 20190.
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        4.      Plaintiffs are ignorant of the true names and capacities of the defendants sued

herein as Does 1 through 10, and therefore sues these defendants by fictitious names. Plaintiffs

will amend this Complaint to allege their true names and capacities when ascertained. Plaintiffs

are informed and believe, and thereon allege, that at all times mentioned herein, each of the

fictitiously named defendants is negligently or otherwise responsible in some manner, along with

the named defendant, for the occurrences herein alleged, and Plaintiffs’ damages as herein

alleged were legally and proximately caused by the acts and/or omissions of both the named and

fictitiously named defendants.

        5.      Plaintiffs are informed and believe, and thereupon allege, that at all times herein

mentioned, the defendant named in this action, as well as the fictitiously named defendants, and

each of them, were agents and employees of the remaining defendants, and in doing the thing

hereinafter complained of, were acting within the course and scope of such agency and/or

employment and with the knowledge and consent of the remaining defendants.

                                       Jurisdiction and Venue

        6.      This Court has subject matter of this action pursuant to 28 U.S.C. Section 1332,

because Plaintiffs are incorporated in the foreign nation of Cyprus and the British Virgin Islands,

and the Defendant is incorporated in Delaware, and has a principal place of business in Virginia,

and the amount in controversy exceeds $75,000.

        7.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1) because

Verisign resides in this judicial district.

                                               Facts

        8.      Accuracy is the owner and registrant of the domain name radaris.com (the

“Radaris Domain Name”).



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       9.      Bitseller is the operator of the website at the Radaris Domain Name (the “Radaris

Website”).

       10.     The Radaris Website is a public records search engine that provides publicly

available information related to people, businesses, and real properties.

       11.     Verisign is the registry for the top-level domains “.com” and “.net.”

       12.     On October 24, 2014, a group of attorneys based in Los Angeles, California filed

a Class Action Complaint on behalf of a putative class of plaintiffs in the case titled Huebner v.

Radaris, LLC et al, Case No. 3:14-cv-04735-VC in the Northern District of California (the

“Huebner Complaint”).

       13.     The Huebner Complaint alleged various wrongs arising from the operation of the

Radaris Website.

       14.     The Huebner Complaint named two entities and an individual as defendants:

Radaris, LLC, purportedly a Massachusetts Limited Liability Company (“Radaris MA”),

Radaris America, Inc., a Delaware corporation (“Radaris DE”), and Edgar Lopin (“Mr. Lopin”

and collectively with Radaris MA and Radaris DE, the “Huebner Defendants”). The Huebner

Complaint did not make any reference to Plaintiffs.

       15.     The Huebner Complaint incorrectly alleged that the Huebner Defendants owned

and operated the Radaris Website and the Radaris Domain Name.

       16.     In reality, Bitseller operated the Radaris Website and Accuracy owned and was

the registrant of the Radaris Domain Name.

       17.     At and about the time that the Huebner Complaint was filed, it was exceedingly

easy for anyone to verify that neither Radaris MA nor Radaris DE owned or operated the Radaris




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Website or the Radaris Domain Name but instead that Bitseller operated the Radaris Website and

Accuracy was the registrant of the Radaris Domain Name.

       18.    Among other simple methods to verify the foregoing, at all relevant times, the

Terms of Use for the Radaris Website stated explicitly “OPERATING COMPANY: Radaris is

operated by Bitseller Expert LIMITED, Nicosia Cyprus.”

       19.    Among other simple methods to verify the foregoing, at all relevant times, the

publicly available WhoIs information for the Radaris Domain Name showed that Accuracy was

the registrant (i.e., owner) of the Radaris Domain Name.

       20.    As the domain name registry for all .com domain names, Verisign had easy access

to search the WhoIs records for the Radaris Domain Name (in fact, Verisign maintains a publicly

accessible WhoIs search on its own website, currently at

https://www.verisign.com/en_US/domain-names/whois/index.xhtml).

       21.    Beyond that, as the registry for .com domain names, Verisign is in fact the very

entity tasked to maintain the WhoIs database for .com domain names, including the Radaris

Domain Name. Accordingly, Verisign itself was maintaining the information and data which

confirmed that the Radaris Domain Name was registered to Accuracy and not to any of the

Huebner Defendants.

       22.    On or about June 19, 2017, the Court in the Huebner case issued a default

judgment against the Huebner Defendants, a copy of which is attached hereto as Exhibit 1 (the

“Default Judgment”).

       23.    The Default Judgment contains no reference to either of the Plaintiffs. The

Default Judgment does not include any statement that either of the Plaintiffs were working in

concert with the Huebner Defendants.



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       24.     The Default Judgment ordered that domain names operated by the Huebner

Defendants be transferred to the plaintiffs in the Huebner case.

       25.     As already noted above, and verifiable by public records and records maintained

by Verisign, at no relevant time was the Radaris Domain Name registered to or operated by the

Huebner Defendants.

       26.     At or about the time that the Default Judgment was issued, Accuracy had

registered the Radaris Domain Name through the domain name registrar EuroDNS.

       27.     Following the issuance of the Default Judgment, in light of the fact, among other

things, that the Radaris Domain Name was not registered to any of the Huebner Defendants

subject to the Default Judgment, EuroDNS refused to transfer the Radaris Domain Name to the

plaintiffs in the Huebner case.

       28.     In or about February 2018, the plaintiffs in the Huebner case requested that

Verisign, as the registry for all .com domain names, transfer the registration and operation of the

Radaris Domain Name to those plaintiffs.

       29.     On or about February 26, 2018, Verisign complied with the request of the

plaintiffs in the Huebner case, despite the easily verifiable fact that the Huebner Defendants did

not own or operate the Radaris Domain Name or the Radaris Website.

       30.     Accordingly, because Verisign knew, or should have known, that the Radaris

Domain Name was not registered to the Huebner Defendants against whom the Default

Judgment was levied, Verisign illegally converted and transferred the Radaris Domain Name

away from Plaintiffs.

       31.     Following Verisign’s transfer of the Radaris Domain Name, the Radaris Website

was taken offline, which has caused serious and irreparable damage to Plaintiffs. Without



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limiting the foregoing, Plaintiffs lost a tremendous amount of traffic to the Radaris Website and

suffered damage to its reputation and business relations.

       32.     On March 1, 2018, Plaintiffs filed an emergency motion for relief from the default

judgment in the Huebner court, requesting that the Huebner court undo Verisign’s actions.

       33.     On May 4, 2018, the Huebner court issued its ruling on the emergency motion,

finding that there was nothing to permit a conclusion that Plaintiffs were acting in concert with

the Huebner Defendants and that there was no evidence that Plaintiffs were involved in the

unlawful conduct alleged in the Huebner Complaint. A copy of the Order is attached hereto as

Exhibit 2.

       34.     Although the Radaris Domain Name and Radaris Website were eventually

returned to Plaintiffs, they have suffered and continue to suffer the effects and damages sustained

as a result of Verisign unlawfully and improperly transferring the Radaris Domain Name away

from them.

                                              Count I

                                            Conversion

       35.     Plaintiffs repeat, reallege, and incorporate each and every allegation listed above

the previous paragraphs as if set forth herein.

       36.     The Radaris Domain Name is the property of Accuracy.

       37.     The Radaris Website is the property of Bitseller.

       38.     Defendants intentionally and substantially interfered with and deprived Plaintiffs

of their property by taking possession of and transferring the Radaris Domain Name, thereby

preventing Plaintiffs from accessing and enjoying their respective property.

       39.     Plaintiffs did not consent to these actions.



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       40.     Despite having every reason to know that it had no right or basis to transfer

Plaintiffs’ property, Defendants did so any way.

       41.     Defendants’ actions and omissions caused serious and irreparable harm and

damages to Plaintiffs in the amount of no less than $500,000.

                                             Count II

                                       Trespass to Chattels

       42.     Plaintiffs repeat, reallege, and incorporate each and every allegation listed above

the previous paragraphs as if set forth herein.

       43.     By the nature of its actions and omissions set forth herein, Defendants interfered

with Accuracy’s use and possession of the Radaris Domain Name and Bitseller’s use and

possession of the Radaris Website.

       44.     Plaintiff did not consent to these actions.

       45.     Defendants’ actions and omissions caused serious and irreparable harm and

damages to Plaintiffs in the amount of no less than $500,000.

      PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL CLAIMS SO TRIABLE

       WHEREFORE, Plaintiffs request the following relief:

       1.      Enter judgment for Plaintiffs and against Defendants on all counts of Plaintiffs’

Complaint;

       2.      Award Plaintiffs actual damages and losses as determined at trial, which should

be in an amount of no less than $500,000;

       3.      Award Plaintiffs consequential damages, punitive damages, attorneys’ fees,

interests and costs as may be provided by law; and

       Grant Plaintiffs such other and further relief as the Court deems just and proper.



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Dated: September 4, 2019                         BITSELLER EXPERT LIMITED, and
                                                 ACCURACY CONSULTING LTD.

Respectfully Submitted,


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